Case 1:05-cv-01022-.]DT-STA Document 11 Filed 05/13/05 Page 1 of 2 Page|D 8

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN'NESSEE
EASTERN DIVISION AT JACKSON

JOH`NN'Y MARVIN HENNING,

Petitioner,

 

v. Nb. 05-1022-T/An

TON'Y PARKER , WARDEN

Vvvv`¢\d~_¢vv

Respondent.

ORDER

Upon motion of respondent and for good cause shown, respondent

is granted leave to file the motion to dismiss one day late.

/
ENTERED this /3 day of May, 2005.

QMMA.;MM(

J ames g Todd
Unite States District Judge

 

AP PROV FOR EN:,`,V PM/\'

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Honorable J ames Todd
US DISTRICT COURT

